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                                                      U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District of New York

SK/FJN/ADW/CWE                                        271 Cadman Plaza East
F.#2015R00471/OCDETF #NY-NYE-777                      Brooklyn, New York 11201



                                                      April 21, 2025


By USAFx

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Hackensack, NJ 07601

                Re:      United States v. Rafael Caro Quintero, et al.
                         Criminal Docket No. 15-208 (FB)

Dear Counsel:

               Enclosed please find the government’s supplemental discovery in accordance
with Rule 16 of the Federal Rules of Criminal Procedure. Please note the enclosed items
include SENSITIVE DISCOVERY MATERIAL and are governed by the Stipulation and
Orders previously entered by the Court (ECF Nos. 82, 99). The government also requests
reciprocal discovery from the defendants.

                Enclosed please find:

                       Documents related to a February 21, 2015 seizure (Bates-numbered
                        SENSITIVE_QUINTERO000003-SENSITIVE_QUINTERO000019);

                       Documents related to a March 4, 2015 seizure (Bates-numbered
                        SENSITIVE_QUINTERO000020-SENSITIVE_QUINTERO000066);
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                   Documents related to a March 5, 2015 seizure (Bates-numbered
                    SENSITIVE_QUINTERO000067-SENSITIVE_QUINTERO000137);
                    and

                   Consensually recorded phone calls (in a file folder Bates-numbered
                    SENSITIVE_QUINTERO000138).

               Please contact us if you have any questions or requests regarding discovery in
this matter.


                                                    Very truly yours,

                                                    JOHN J. DURHAM
                                                    United States Attorney

                                           By:             /s/
                                                    Saritha Komatireddy
                                                    Francisco J. Navarro
                                                    Andrew D. Wang
                                                    Chand W. Edwards-Balfour
                                                    Assistant U.S. Attorneys
                                                    (718) 254-7000

Enclosures

cc:    Clerk of the Court (FB) (by ECF) (without enclosures)




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